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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ELIZABETH MAZUR,
                                                   Case No. 1:23-cv-13845
               Plaintiff,
                                                   Judge Rebecca R. Pallmeyer
v.
                                                   Magistrate Judge Sheila M. Finnegan
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,
               Defendants.

NOTICE OF DISMISSAL AS TO DEFENDANT NOS. 4, 10, 25, 53, 76, 78, 79, 85, 99, 102,

                                      103, and 147 ONLY

     TO THE HONORABLE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:

     PLEASE TAKE NOTICE that Plaintiff and guangzhouyixiaochengshangchengyouxiangongsi

d/b/a    CHUOAND            (ID:   A35TX1T5MXATK2)       (Def.    #   76),   XOWRTE        (ID:

A1YW5EMM9YVORY) (Def. # 102), BilyBY (ID: A6630U29EQIU5) (Def. # 103), SoeHir (ID:

A3L18V4UCFMS74) (Def. # 99), FKSESG (ID: A3BB8JWLXD83AO) (Def. # 85), Holzkary

(ID: A3SVA7NRR7SBBJ) (Def. # 78), GLVSZ (ID: A2BBH8LA41A6PO) (Def. # 147),

CGGMVCG 7-15 Days Fast Delivery (ID: ARXAOI9J6ZSM9) (Def. # 4), Yubnlvae (ID:

A38O92UI1G6OYS) (Def. # 25), winterday (ID: A9IRNX9GVUBHU) (Def. # 53), OORTFV

(ID: A1LCASR9APEAAO) (Def. # 10), iemlca (ID: A1D6N6ARO6M7VL) (Def. # 79) have

reached a settlement as to all claims at issue in this case asserted against Defendants only.

Accordingly, Plaintiff in the above referenced voluntarily dismisses its claims against only the

aforementioned Defendants, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), with each

party bearing its own costs and attorneys’ fees. In accordance with Rule 41, the Preliminary




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Injunction Order (ECF 35) is automatically dissolved against the aforementioned Defendants only.

The Preliminary Injunction Order (ECF 35) remains as to all other Defendants.

       Per Fed. R. Civ. P. 41(a)(1)(A)(i), no order is required on this dismissal.

                                                     Respectfully submitted,
Date: November 17, 2023
                                                     /s/ Mackenzie Paladino
                                                     Mackenzie Paladino, Esq. (Bar No. 6342560)
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                                                     Attorney for Plaintiff




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                                       NOTICE OF DISMISSAL
